Case 9:19-cv-80825-DMM Document 69 Entered on FLSD Docket 01/16/2020 Page 1 of 2

Dear Judge Middlebrooks,

Harley is the youngest of my three children and the only one who has food allergies. | want to take this
opportunity to explain my rationale for bringing Case 9:19-cv-80825-DMM QUASHA v. City of
Palm Beach Gardens, Florida. Two allergists and a pediatrician’s written medical

records instructed Harley to avoid sesame, tree nuts, peanuts, shellfish, eggs and pineapple.

He has had multiple food allergy reactions and had anaphylaxis which required treatment at an
emergency room, due to the ingestion of a cashew. My son has an Epi pen, prescribed by his doctor and
a 504 pian at his school. Harley also has asthma and was prescribed Flo Vent in Fall 2018 to control his
nightly asthma attacks.

In the Fall of 2018, PBG City Manager, Ron Ferris, was kind enough to make accommodations for my son
so that he could play t-ball. The accommodations offered and provided sweeping of the dugout

and halting the sale of peanuts until after Harley's game. We requested the same accommodations in

the Spring of 2019 and after multiple attempts were denied. | was advised by an attorney, Mr. Matthew
Dietz, that the situation could be resolved by litigation and the case was taken on a contingency

basis. My suit did not involve any financial compensation for me or my family but simply sought to give
my son the opportunity to play t-ball with his neighbors and friends.

The suit has brought anguish and stress to my family and hurtful publicity. Our attorney felt that because
we did not conclusively prove my son’s allergy to peanuts, the case became weak. The only conclusive
test to prove this allergy would be to ingest peanuts in the presence of a doctor and administer the Epi
pen when the reaction occurs. | was advised by my doctor that this was not safe, it was a life-threatening
tisk, the procedure should be done in a hospital with necessary medical equipment and epinephrine is not
a fool proof treatment; therefore, we did not proceed. My son never ingested a peanut because he was
instructed by his doctor not to. His doctor also said that even with his ingested, "definitive" treenut allergy
it would still be risky to put him in a dug out with peanuts and peanut oil because of the all nut

mixing cross contamination factor.

| would hope that in your deliberations, you would take under advisement that as a mother, !| wanted to
protect my child and allow him play and enjoy the pastime of t-ball. | am very disappointed that the
accommodation could not be reached, and | hope that this will not be exacerbated with a financial burden
of taxable costs.

| will be happy to furnish Harley's medical records upon your request. | also attached credible food
allergy links to the FARE website as | understand food allergies are new to the disability world and as
Matthew Dietz explained, uncharted territory.

Thank you for your consideration.

Sincerely,

Bombe Cucala

https: //www.foodallerqy.org/common-allergens/tree-nut-allergy
https://www.foodallergy.org/common-allergens/peanut-aller
https://www.foodaller life-with-food-allergies/anaphylaxis/about-anaphylaxis

      
 

 

 

 

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